                    UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF OHIO


                                 )       CASE NO:
                                 )
KATELYN SIMMONS                  )
1074 Ledgebrook Drive            )
Tallmadge, Ohio 44278            )
                                 )       JUDGE:
-and-                            )
                                 )
CHRISTINE SIMMONS                )
1074 Ledgebrook Drive            )
Tallmadge, Ohio 44278            )
                                 )
       Plaintiffs,               )
                                 )
               V.                )            COMPLAINT
                                 )
                                 )
ILENE SHAPIRO, IN HER OFFICIAL   )            JURY TRIAL DEMANDED
CAPACITY AS THE ELECTED          )
SUMMIT COUNTY, OHIO EXECUTIVE )
175 South Main Street, 8th Floor )
Akron, Ohio 44308                )
                                 )
-and-                            )
                                 )
STEVE BARRY, IN HIS OFFICIAL     )
INDIVIDUAL CAPACITY AS THE       )
ELECTED SHERIFF OF SUMMIT        )
COUNTY, OHIO                     )
53 University Avenue             )
Akron, Ohio 44308                )
                                 )
-and-                            )
                                 )
ALYCIA HAWKINS, IN HER           )
INDIVIDUAL AND OFFICIAL          )
CAPACITY AS DEPUTY SHERIFF OF    )
SUMMIT COUNTY, OHIO              )
53 University Avenue             )
Akron, Ohio 44308                )

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                              )
-and-                         )
                              )
DEBRA WEILAND, IN HER         )
INDIVIDUAL AND OFFICIAL       )
CAPACITY AS DEPUTY SHERIFF OF )
SUMMIT COUNTY, OHIO           )
53 University Avenue          )
Akron, Ohio 44308             )
                              )
-and-                         )
                              )
TERESA STARK, IN HER          )
INDIVIDUAL AND OFFICIAL       )
CAPACITY AS DEPUTY SHERIFF OF )
SUMMIT COUNTY, OHIO           )
53 University Avenue          )
Akron, Ohio 44308             )
                              )
-and-                         )
                              )
JOHN DOES and JANE DOES 1-3   )
EMPLOYEES, AGENTS, AND/OR     )
REPRESENTATIVES OF            )
SUMMIT COUNTY, OHIO           )
AND THE SUMMIT COUNTY SHERIFF )
NAMES NOT PRESENTLY KNOWN     )
53 University Avenue          )
Akron, Ohio 44308             )
                              )
              Defendants.     )



       Now come Plaintiffs, Katelyn Simmons and Christine Simmons, by and through

undersigned counsel, Alfred E. Schrader, and submit their Complaint against Defendants, alleged

on knowledge as to their own actions, and otherwise upon information and belief, as follows:

 I.      Jurisdiction


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1. This court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(3) and (4) for

   redress under 42 U.S.C. §§ 1983 et seq for deprivation of rights, privileges, and

   immunities secured by the constitution and laws of the United States. The court

   also has supplemental jurisdiction over any claims arising under state law here

   presented under 28 U.S.C. § 1367.

2. Katelyn Simmons has been a resident of the State of Ohio for at least six (6)

   months immediately preceding the filing of this Complaint.

3. Christine Simmons has been a resident of the State of Ohio for at least six (6)

   months immediately preceding the filing of this Complaint.

4. Katelyn Simmons and Christine Simmons are hereinafter referred to collectively

   as “the Plaintiffs.”

5. The actions described related to the incident bringing rise to this claim occurred in

   Summit County in the State of Ohio.

6. Summit County (herein “the County”) and the Summit County Executive

   (hereinafter “Executive’s Office”) have been domiciled in the State of Ohio for at

   least six (6) months immediately preceding the filing of this Complaint.

7. Upon knowledge and belief, Alycia Hawkins has been a resident of the State of

   Ohio for at least six (6) months immediately preceding the filing of this

   Complaint.

8. Upon knowledge and belief, Debra Weiland has been a resident of the State of

   Ohio for at least six (6) months immediately preceding the filing of this

   Complaint.


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        9. Upon knowledge and belief, Teresa Stark has been a resident of the State of Ohio

           for at least six (6) months immediately preceding the filing of this Complaint.

        10. Defendants Hawkins, Weiland, and Stark are hereinafter referred to collectively

           as “the Deputies.”

        11. Upon knowledge and belief, Defendants John Does and Jane Does 1-3,

           Employees, Agents, and/or Representatives of Summit County and the Summit

           County Sheriff have been residents of the State of Ohio for at least six (6) months

           immediately preceding the filing of this Complaint.

II.    Venue

        12. Paragraphs 1-11 are incorporated as fully restated herein.

        13. The 42 U.S.C. 1983 civil rights action at the heart of this matter occurred in the

           Summit County Jail, which is located in Summit County. Thus, venue is proper

           and appropriate in this Court.

III.   Facts

        14. Paragraphs 1-13 are incorporated as fully restated herein.

        15. On April 19, 2018, Plaintiff Katelyn Simmons was booked into the Summit

           County Jail as a pretrial detainee.

        16. At the time of Plaintiff Katelyn Simmons’ booking, she was given the alert label

           of “SUICIDE, MENTAL,” placing the Deputies and other Jail staff on notice of

           her condition.

        17. The Deputies then failed to adhere to proper protocol by neglecting to timely

           check on the welfare state of an inmate on suicide mental status.


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18. The conduct, practices, and/or policies and procedures as applied to Plaintiff

   Katelyn Simmons amounted to indifference to a serious medical need of Plaintiff

   Katelyn Simmons.

19. On April 27, 2018, Plaintiff Katelyn Simmons attempted suicide by hanging in

   her jail cell, using her bedsheets.

20. Deputy Stark was the first to discover Plaintiff Katelyn Simmons in her cell at

   approximately 18:30.

21. Deputy Stark then called for Deputy Weiland, who, upon her arrival, called out

   over the jail radio that an inmate was down in pod 5A, cell 24.

22. Deputy Hawkins arrived on the scene and instructed Deputies Weiland and Stark

   to remove the noose with the intent of concealing the suicide attempt.

23. The Deputies then folded the sheet Katelyn Simmons used as a noose and

   returned it to the bed, and placed Plaintiff Katelyn Simmons on the floor,

   effectively concealing that Katelyn Simmons had attempted suicide by hanging.

24. The nursing staff arrived, and observed Plaintiff Katelyn Simmons lying

   unconscious, face down in the cell, making distressed breathing noises.

25. The Deputies advised the nursing staff that Plaintiff Katelyn Simmons might be

   “faking” a seizure.

26. The medical staff and the Jail Supervisory Staff repeatedly questioned Deputies

   regarding whether Plaintiff Katelyn Simmons had attempted suicide.




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27. The Deputies repeatedly denied that Plaintiff Katelyn Simmons had attempted

   suicide despite all Defendant Deputies knowing that Plaintiff Katelyn Simmons

   had attempted suicide.

28. The Emergency Medical Service arrived at approximately 19:10 and began to

   treat Plaintiff Katelyn Simmons for a seizure.

29. It was not until after Plaintiff Katelyn Simmons was transferred to the hospital

   that Deputy Hawkins admitted that there was a noose found in Plaintiff Katelyn

   Simmons' cell.

30. It was at this time when Deputy Weiland also admitted that she, Deputy Stark and

   Deputy Hawkins all knew about the noose and that Deputy Stark took the noose

   down before anyone else entered the cell.

31. Because of the Deputies’ conspiring to conceal, and then concealing the fact of

   the suicide attempt, Plaintiff Katelyn Simmons did not receive proper medical

   treatment until she arrived in the emergency room where the hospital staff was

   notified that Plaintiff Katelyn Simmons did make a suicide attempt and was not

   suffering from a seizure.

32. Upon being discharged from the hospital and returning to the Jail, Plaintiff

   Katelyn Simmons was not allowed to shower or receive clean underwear.

33. Jail staff informed Plaintiff Katelyn Simmons that she was being punished for

   creating a disturbance, and that the restrictions served as that punishment.

34. The County of Summit has for at least the last three years reduced the allotted

   number of Deputies in the budget, resulting in the Jail staff resorting to conspiracy


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          to conceal evidence, taking action to conceal evidence, and cruel and unusual

          punishment to avoid termination.

IV.   COUNT ONE: FOURTEENTH AMENDMENT CIVIL RIGHTS VIOLATION

       35. Paragraphs 1-34 are incorporated as fully restated herein.

       36. Plaintiff Katelyn Simmons’ Fourteenth Amendment substantive and procedural

          rights were violated by Defendants, and each of theirs, deliberate indifference to

          Plaintiff Katelyn Simmons’ known serious medical needs.

       37. Due to Plaintiff Katelyn Simmons’ suicide attempt, she had an objectively serious

          medical condition that a lay person would immediately understand would require

          medical assistance.

       38. The Deputies perceived the fact of Plaintiff Katelyn Simmons’ serious medical

          need and understood the risks to the prisoner, drew such an inference, and

          disregarded those risks when they undertook to destroy evidence and lie to

          medical staff regarding the cause of Plaintiff Katelyn Simmons’ injuries.

       39. The actions and inactions of Defendants, jail officials and employees, and each of

          them, deprived Plaintiff Katelyn Simmons of her protected interest in life, liberty,

          and property without due process, when she was denied the proper medical

          treatment.

       40. The actions and inactions of Defendants, jail officials and employees, and each of

          them, deprived Plaintiff Katelyn Simmons of her protected interest in life, liberty,

          and property without due process, when Defendants did not correctly follow

          procedure for known pretrial detainees at risk of suicide.


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      41. It is alleged that the policies and customs of the Sheriff’s Office were

         unconstitutional, or alternatively, applied in an unconstitutional manner, in that

         they arbitrarily denied medical treatment to pretrial detainees, and/or that they

         effectively caused deliberate indifference to the medical needs to pretrial

         detainees.

      42. The policies and customs of the County were unconstitutional, or alternatively,

         applied in an unconstitutional manner, in that they arbitrarily denied medical

         treatment to pretrial detainees, and/or that they effectively caused deliberate

         indifference to the medical needs to pretrial detainees.

      43. Each individual occurrence in which Plaintiff Katelyn Simmons was denied

         appropriate treatment was a separate violation of Plaintiff Katelyn Simmons’

         Fourteenth Amendment rights, resulting in multiple claims for violations of those

         rights.

V.   COUNT TWO: EIGHTH AMENDMENT CRUEL AND USUAL PUNISHMENT

      44. Paragraphs 1-43 are incorporated as fully reinstated herein.

      45. Defendants’ denial of and failure to provide necessary medical care for Plaintiff

         Katelyn Simmons amounted to the infliction of cruel and unusual punishment in

         violation of the Eighth Amendment of the United States Constitution.

      46. Defendants, and each of them, neglected to check on Plaintiff Katelyn Simmons

         in a timely fashion, providing the opportunity for harm to befall her.

      47. Defendants, and each of them, then conspired to and did destroy evidence of

         Plaintiff Katelyn Simmons’ attempted suicide and provided false information to


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           medical personnel resulting in a denial to Plaintiff Katelyn Simmons of necessary

           medical aid which she required.

        48. Upon Plaintiff Katelyn Simmons’ return to the Jail, Defendants, and each of them,

           again prevented Plaintiff Katelyn Simmons from accessing showers and

           undergarments, and other necessities for maintaining her health.

        49. Defendants, and each of them, at all points sought to therefore inflict punishment

           upon Plaintiff Katelyn Simmons that was outside and beyond the manner of

           punishment required to be administered to Plaintiff Katelyn Simmons as a pretrial

           detainee.

VI.    COUNT THREE: FAILURE TO TRAIN

        50. Paragraphs 1-49 are incorporated as fully reinstated herein.

        51. Plaintiffs allege that Defendant Summit County, failed to train their employees

           and failed to employ sufficient numbers of jail deputies to timely make welfare

           checks on suicide/mental inmates so as to have caused deliberate indifference to

           the medical needs of Plaintiff Katelyn Simmons.

VII.   COUNT FOUR: VIOLATION OF R.C. 2921.13

        52. Paragraphs 1-51 are incorporated as fully reinstated herein.

        53. Deputies Stark, Weiland, and Hawkins knowingly made false statements.

        54. These false statements were made in order to mislead superiors during the

           investigation following Plaintiff Katelyn Simmons’ suicide attempt.




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      55. Under the Ohio Revised Code 2921.13(G), the section for falsification, any

         person who violates this code section is liable in a civil action to any person

         harmed by the violation for any injury incurred.

      56. The County failed in its duty and responsibility to fund an adequate number of

         deputies, resulting in deputies being overworked, and leading them to resort to

         covering up their failures to avoid discipline or termination.

      57. Plaintiff Katelyn Simmons was harmed by the Defendants’ violation of the ORC

         2921.13.

      58. This Court has jurisdiction to hear this state law claim pursuant to 28 U.S.C. §

         1367.

VIII. PUNITIVE DAMAGES

      59. Paragraphs 1-58 are incorporated as fully reinstated herein.

      60. Plaintiffs allege that the conduct of all Defendants was wanton, reckless, and

         deliberate in nature so as to warrant punitive damages.

      61. Due to the Defendants’ wanton, reckless, and deliberate behavior and/or criminal

         behavior, Plaintiffs seeks punitive damages in an amount that a trier of fact finds

         appropriate.

     62. Plaintiff Christine Simmons was further injured by the failure of the Defendants,

         and each of them, to allow her to obtain from Katelyn Simmons companionship,

         comfort, love and solace during the time in which Katelyn Simmons was in the

         hospital receiving treatment for her suicide attempt.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Honorable Court grant judgment in favor of

Plaintiffs, Katelyn Simmons and Christine Simmons, for the requested punitive damages and

compensatory damages to be proven at trial in excess of Seven Hundred Fifty Thousand dollars

($750,000.00) including damages for pain and suffering, reasonable legal fees, interest and costs,

and/or such other legal and equitable relief as this Court deems just and proper.

                                             Respectfully submitted,
                                             RODERICK LINTON BELFANCE, LLP

                                             /s/ Alfred E. Schrader
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